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H\I THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

GEIGTECH EAST BAY LLC,
Plamuff’ Civil Action No. l:lS-cv-0529()
V' IURY TRIAL DEMANDED
LUTRON ELECTRONICS CO., INC.,
Defendant.

 

 

DECLARATION OF CARL MILIANTA

l. My name is Carl Milianta. I am over 18 years of age, of sound mind, capable of
making this declaration, and personally acquainted With the facts stated herein. I have personal
knowledge of the facts in this declaration, and they are true and correct.

2. l arn President at Arenson Offlce Furnishing. I have Worked there for 35 years.

3. On May 2 l , 2018, I attended the Internation Contemporary Furniture Fair (“ICFF”)
in NeW York, New York. While there, I made an audio recording of a conversation l had With a
sales representative for Lutron Electronics Co., lnc. regarding Lutron’s Palladiorn shading system.

4. Exhibit 1 to this declaration is a true and correct copy of a transcription made of the
conversation I recorded With the Lutron sales representative

Pursuant to 28 U.S.C. Section 1746, I declare under penalty of perjury that the foregoing

is true and correct.

Executed on .lune §§ 2018 z ’

Carl Milianta

 

